          Case 3:17-cv-02923-N Document 22 Filed 04/27/18                                   Page 1 of 4 PageID 166

AO 441 (Rev. 12/09) Summons in a Civil Action on Third-Party Complaint



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Texas

                               Cole Peck                                    )
                                 Plaintiff                                  )
                                    v.                                      )
           Asset Management Associates LLC ,              et al             )
                                                                                   Civil Action Number: 3:17-cv-02923-N
                    Defendant and Third Party Plaintiff                     )
                                   v.                                       )
                             Greg McGaw                                     )
                          Third-party defendant
                                                                            )

                                             SUMMONS ON A THIRD-PARTY COMPLAINT


To: Greg McGaw

      A lawsuit has been filed against defendant Asset Management Associates LLC, who as third-party plaintiff is making this
claim against you to pay part or all of what the defendant may owe to the plaintiff Cole Peck.

       Within 21 days after service of this summons on you (not counting the day you received it) -- or 60 days if you are the
United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12(a)(2) or
(3) -- you must serve on the plaintiff and on the defendant an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or defendant's attorney, whose name
and address are:
  Joshua Hedrick
  1700 Pacific Avenue, Ste 4425 Dallas , TX 75201

It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:
   Joshua Hedrick
   1700 Pacific Avenue, Ste 4425 Dallas , TX 75201

     If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

       A copy of the plaintiff's complaint is also attached. You may - but are not required to - respond to it.




                                                                                           CLERK OF COURT


DATE: 04/27/2018
                                                                                           Signature of Clerk or Deputy Clerk
                 Case 3:17-cv-02923-N Document 22 Filed 04/27/18                               Page 2 of 4 PageID 167
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 3:17-cv-02923-N


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
          Case 3:17-cv-02923-N Document 22 Filed 04/27/18                                   Page 3 of 4 PageID 168

AO 441 (Rev. 12/09) Summons in a Civil Action on Third-Party Complaint



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Texas

                               Cole Peck                                    )
                                 Plaintiff                                  )
                                    v.                                      )
           Asset Management Associates LLC ,              et al             )
                                                                                   Civil Action Number: 3:17-cv-02923-N
                    Defendant and Third Party Plaintiff                     )
                                   v.                                       )
                       David Shane Shoulders                                )
                          Third-party defendant
                                                                            )

                                             SUMMONS ON A THIRD-PARTY COMPLAINT


To: David Shane Shoulders

      A lawsuit has been filed against defendant Asset Management Associates LLC, who as third-party plaintiff is making this
claim against you to pay part or all of what the defendant may owe to the plaintiff Cole Peck.

       Within 21 days after service of this summons on you (not counting the day you received it) -- or 60 days if you are the
United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12(a)(2) or
(3) -- you must serve on the plaintiff and on the defendant an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or defendant's attorney, whose name
and address are:
  Joshua Hedrick
  1700 Pacific Avenue, Ste 4425 Dallas , TX 75201

It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:
   Joshua Hedrick
   1700 Pacific Avenue, Ste 4425 Dallas , TX 75201

     If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

       A copy of the plaintiff's complaint is also attached. You may - but are not required to - respond to it.




                                                                                           CLERK OF COURT


DATE: 04/27/2018
                                                                                           Signature of Clerk or Deputy Clerk
                 Case 3:17-cv-02923-N Document 22 Filed 04/27/18                               Page 4 of 4 PageID 169
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 3:17-cv-02923-N


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
